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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN BAR ASSOCIATION,

                Plaintiff,

 v.                                                     Case No. 25-cv-1263-CRC

 U.S. DEPARTMENT OF JUSTICE et al.,

                Defendants.



                 PLAINTIFF’S RESPONSE TO DEFENDANTS’ NOTICE
                         REGARDING STATUS OF FUNDS

       Plaintiff the American Bar Association (ABA) respectfully submits this response to the

briefing schedule proposed in Defendants’ Notice Regarding Status of Filing. Defendants ask the

Court to treat the ABA’s Motion for a Temporary Restraining Order or, in the Alternative, for a

Preliminary Injunction, ECF No. 4, as seeking merely a preliminary injunction. And they ask the

Court to set a briefing schedule that affords them 15 days to respond to the motion—8 days longer

than the default prescribed by this Court’s local rules. See LCvR 65.1(c).

       It appears that Defendants view the ABA’s TRO application as less than urgent because they

view the ABA as having sufficient funding to keep the Commission on Domestic and Sexual

Violence operating without the grant funds at issue in this case. But the ABA is a nonprofit

organization. It generates no excess revenue beyond its operating expenses, so all of the ABA’s

revenue is budgeted to specific purposes. If the ABA were to divert revenue from other purposes,

those other purposes would be unfunded, thereby causing other harms to other critical ABA

programs. This funding dynamic explains why the ABA’s loss of other federal grants and contracts

caused the layoffs of more than 300 employees and field staff. See Decl. of Maricarmen Garza ¶ 49,

ECF No. 4-2.

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        Although the ABA appreciates Defendants’ representations that they will not reobligate the

funds at issue prior to June 2, the TRO application has become even more urgent since yesterday.

As counsel indicated at the scheduling conference, the ABA is paid in arrears for the expenses it

incurs under the grants at issue. The ABA has now determined that Defendants have deleted the

ABA’s account in the financial system that permits those payments in arrears. So absent this Court’s

intervention, the ABA will not be able to fund even the Commission’s April expenses prior to the

termination of the grants, or the closeout obligations that DOJ’s termination letter itself

contemplates.

        If Defendants are unprepared to respond on a TRO timetable—or even the Court’s default

timetable for preliminary-injunction motions—Plaintiff would respectfully request that the Court

rule on the pending TRO motion without awaiting Defendants’ response.
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April 25, 2025                                         Respectfully submitted,

                                                       /s/ Brian D. Netter
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